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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,                 :

       Plaintiff,                         :      Case No. 3:20-CR-014

       -vs-                               :      Magistrate Judge Sharon L. Ovington

JOAN PEREYRA,                             :

       Defendant.                         :



                         ORDER REGARDING SPEEDY TRIAL



       The Pretrial Conference, currently scheduled for September 2, 2020 is reset to
November 18, 2020. In light of current COVID-19 public health concerns—including
rapid spread of the disease in Montgomery County, Ohio—the Court finds that the ends
of justice served by continuing the present criminal matter outweigh the interests of the
public and Defendant in a speedy trial. Accordingly, the Court finds the time period from
September 2, 2020 to November 18, 2020 is properly excludable from the speedy trial
calculation pursuant to under 18 U.S.C. § 3161(h)(7)(A).
       IT IS SO ORDERED.

July 9, 2020                                             s/Sharon L. Ovington_____
                                                          Sharon L. Ovington
                                                    United States Magistrate Judge
